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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA


 ASHLEY COLEMAN,                                CIVIL ACTION NO. 2:15-cv-00426

             Plaintiff                          JUDGE IVAN L.R. LEMELLE –
                                                SECTION B
 vs
                                                MAGISTRATE JUDGE DANIEL E.
 CENTRAL PORTFOLIO CONTROL, INC. a              KNOWLES, III – DIVISION 3
 Minnesota corproation,
                                                JURY TRIAL DEMANDED
           Defendant
___________________________________________________________________________
             NOTICE OF VOLUNTARY DISMISSAL, WITH PREJUDICE,
                         PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff ASHLEY

COLEMAN, through undersigned counsel, hereby gives notice that the above captioned action

against Defendant CENTRAL PORTFOLIO CONTROL, INC. is voluntarily dismissed, with

prejudice.

       DATED this 4th day of March 2015.


                                           GESUND & PAILET, LLC
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